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 6   DOUGLAS POWERS
 7
                                    UNITED STATES DISTRICT COURT
 8
                                 NORTHERN DISTRICT OF CALIFORNIA
 9

10
      DOUGLAS POWERS,                                   CASE NO.
11                                                      Civil Rights
              Plaintiff,
12                                                      COMPLAINT FOR PRELIMINARY AND
              v.                                        PERMANENT INJUNCTIVE RELIEF AND
13                                                      DAMAGES: DENIAL OF CIVIL RIGHTS
      FOXWORTHY GAS “LP”; MILLER                        AND ACCESS TO PUBLIC FACILITIES TO
14    TRUST,                                            PHYSICALLY DISABLED PERSONS, PER
                                                        FEDERAL AND CALIFORNIA STATUTES
15                                                      (including CIVIL CODE §§ 51, 52, 54, 54.1,
              Defendants.                               54.3 and 55; and HEALTH & SAFETY CODE
16                                                      §§ 19953 et seq.); INJUNCTIVE RELIEF PER
                                                        TITLE III, AMERICANS WITH
17                                                      DISABILITIES ACT OF 1990 (including 42
                                                        USC §§ 12181 et seq.)
18
                                                        DEMAND FOR JURY TRIAL
19

20           Plaintiff DOUGLAS POWERS complains of Defendants FOXWORTHY GAS “LP” and

21   MILLER TRUST, and each of them, and alleges as follows:

22           1.      INTRODUCTION: Plaintiff is a 72-year-old amputee who loves tacos. He has

23   tried many taco trucks in the San Jose area, but one his favorites is the truck that frequently serves

24   its tacos from the parking lot of the Foxworthy Gas Station located at 1645 Foxworthy Ave, San

25   Jose, California. Plaintiff also finds it convenient to purchase gas at the station when he orders

26   food at the truck. Unfortunately, it is difficult for Plaintiff to access that taco truck and the

27   services of the Foxworthy Gas Station due to the lack of compliant designated accessible parking

28   spaces in the gas station parking lot. Additionally, when Plaintiff has attempted to access the
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 1   convenience store and restroom at the Foxworthy Gas Station, he has experienced difficulty,

 2   discomfort and embarrassment due to the lack of an accessible path of travel throughout the site

 3   and the lack of accessible features in the restroom.

 4           2.     Defendants denied disabled Plaintiff DOUGLAS POWERS accessible public

 5   facilities, including a compliant accessible path of travels and accessible parking at the

 6   Foxworthy Gas Station. Plaintiff DOUGLAS POWERS is a “person with a disability” or

 7   “physically handicapped person” who has uses a prosthetic leg to assist with mobility. He is

 8   unable to use portions of public facilities which are not accessible to mobility disabled persons.

 9   On or about February 5, 2022, and February 10, 2022, Plaintiff was denied his rights to full and

10   equal access at the Foxworthy Gas Station. He was denied his civil rights under both California

11   law and federal law, and continues to have his rights denied, because these facilities were not, and

12   are not now, properly accessible to physically disabled persons.

13           3.     Plaintiff seeks injunctive relief to require Defendants to make these facilities

14   accessible to disabled persons and to ensure that any disabled person who attempts to patronize

15   the subject premises will be provided accessible facilities. Plaintiff also seeks recovery of

16   damages for his discriminatory experiences and denial of access and of civil rights, which denial

17   is continuing as a result of Defendants’ failure to provide disabled accessible facilities. Plaintiff

18   also seeks recovery of reasonable statutory attorney fees, litigation expenses and costs, under

19   federal and state law.

20           4.     JURISDICTION: This Court has jurisdiction of this action pursuant to 28 USC

21   section 1331 for violations of the Americans with Disabilities Act of 1990, 42 USC

22   sections 12101 et seq. Pursuant to pendant jurisdiction, attendant and related causes of action

23   arising from the same facts are also brought under California law, including but not limited to

24   violations of Health & Safety Code sections 19953-19959; California Civil Code sections 51, 52,

25   54, 54.1, 54.3 and 55; and Title 24 California Code of Regulations, the California State Building

26   Code.

27           5.     VENUE: Venue is proper in this court pursuant to 28 USC section 1391(b) and is

28   founded on the fact that the real property which is the subject of this action is located in this
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 1   district and that Plaintiff’s causes of action arose in this district.

 2           6.       INTRADISTRICT: This case should be assigned to the San Jose intradistrict as

 3   the real property which is the subject of this action is located in this intradistrict and Plaintiff’s

 4   causes of action arose in this intradistrict.

 5           7.       PARTIES: Plaintiff is a qualified physically disabled person. He has been

 6   diagnosed with a genetic blood disorder called “Factor V Leiden” which caused blood clots in his

 7   legs. After two failed vein bypass surgeries, he had to have his left leg amputated in 2008.

 8   Plaintiff uses a prosthetic leg or crutches to ambulate. His condition substantially affects his

 9   balance and ability to walk. His disability particularly affects his ability to ambulate and climb

10   steps, and the medication he takes creates a very serious risk of injury should he fall and cut

11   himself. He is unable to use portions of public facilities which are not accessible to mobility

12   disabled persons. Plaintiff is entitled by permit from the State of California to park any vehicle

13   which he drives or is transported in, in a designated and properly configured disabled accessible

14   parking space.

15           8.       Defendants FOXWORTHY GAS “LP” and MILLER TRUST are and were the

16   owners, operators, lessors and/or lessees of the subject business, property and buildings at all

17   times relevant to this Complaint. Plaintiff is informed and believes Defendants performed all acts

18   and omissions stated herein which proximately caused the damages complained of. Plaintiff is

19   informed and believes that each of the Defendants herein is the agent, employee, or representative

20   of each of the other Defendant, and each performed all acts and omissions stated herein within the

21   scope of such agency or employment or representative capacity and is responsible in some

22   manner for the acts and omissions of the other Defendants in proximately causing the damages

23   complained of herein.

24           9.       Foxworthy Gas Station is a place of “public accommodation” and “business

25   establishment” subject to the requirements of multiple categories of 42 USC section 12181(7)(E)

26   of the Americans with Disabilities Act of 1990, including a sales establishment; of California

27   Health & Safety Code sections 19953 et seq.; of California Civil Code sections 51 et seq.; and of

28   California Civil Code sections 54 et seq. On information and belief, Foxworthy Gas Station and
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 1   its facilities were built after July 1, 1970, and since then have undergone construction and/or

 2   “alterations, structural repairs, or additions,” subjecting each such facility to disabled access

 3   requirements per Health & Safety Code sections 19953-19959 et seq., and, as to construction

 4   and/or alterations since January 26, 1993, to the disabled access requirements of section 12183 of

 5   the Americans with Disabilities Act of 1990. Such facilities constructed or altered since 1982 are

 6   also subject to “Title 24,” the California State Architect’s Regulations, also known as the

 7   California Building Code. Further, irrespective of the alteration history, such premises are

 8   subject to the “readily achievable” barrier removal requirements of Title III of the Americans

 9   with Disabilities Act of 1990, as defined by the ADA. 42 USC § 12181(9).

10
                                  FIRST CAUSE OF ACTION:
11                              DAMAGES AND INJUNCTIVE RELIEF
             FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC FACILITIES IN A
12                                  PUBLIC ACCOMMODATION
                (California Health & Safety Code §§ 19955 et seq; Civil Code §§ 54 et seq.)
13

14           10.     Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

15   the factual allegations contained in Paragraphs 1 through 9, above, and incorporates them herein

16   by reference as if separately repled hereafter.

17           11.     Plaintiff DOUGLAS POWERS and other similarly situated physically disabled

18   persons who are unable to use public facilities on a “full and equal” basis unless each such facility

19   is in compliance with the provisions of California Health & Safety Code sections 19955 -19959.

20   Plaintiff is a member of that portion of the public whose rights are protected by the provisions of

21   Health & Safety Code sections 19955 et seq. Further, Plaintiff is also protected against policy

22   and architectural barrier discrimination by California Civil Code sections 54 and 54.1, the

23   “Disabled Persons Act.” “Individuals with disabilities or medical conditions have the same right

24   as the general public to the full and free use of the streets, highways, sidewalks, walkways, public

25   buildings, medical facilities, including hospitals, clinics, and physicians’ offices, public facilities,

26   and other public places.” Civil Code § 54(a). Furthermore, “Individuals with disabilities shall be

27   entitled to full and equal access, as other members of the general public, to accommodations,

28   advantages, facilities, . . . places of public accommodation, amusement, or resort, and other places
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 1   to which the general public is invited.” Civil Code § 54.1(a). Additionally, any violation of the

 2   ADA, including but not limited to any violation of 42 USC sections 12182 and 12183, is also

 3   incorporated as a violation of the Disabled Persons Act. Civil Code §§ 54(c), and 54.1(d).

 4          12.     Title 24, California Code of Regulations, formerly known as the California

 5   Administrative Code and now also known as the California Building Code, was in effect at the

 6   time of each alteration which, on information and belief, occurred at such public facility since

 7   January 1, 1982, thus requiring access complying with the specifications of Title 24 whenever

 8   each such “alteration, structural repair or addition” was carried out. On information and belief,

 9   Defendants and/or their predecessors in interest carried out new construction and/or alterations,

10   structural repairs, and/or additions to such buildings and facilities during the period Title 24 has

11   been in effect. Further, Plaintiff alleges, on information and belief, that construction, alterations,

12   structural repairs, and/or additions which triggered access requirements at all relevant portions

13   Foxworthy Gas Station, also occurred between July 1, 1970, and December 31, 1981, and

14   required access pursuant to the A.S.A. (American Standards Association) Regulations then in

15   effect, pursuant to the incorporated provisions of California Government Code sections 4450 et

16   seq. Further, on information and belief, additions to the building after the initial construction also

17   occurred after January 1, 1972, triggering access requirements per Health and Safety Code section

18   19959. Alterations or additions after January 26, 1993, trigger ADA liability and requirements

19   per 42 USC sections 12182 and 12183 of the ADA.

20          13.     FACTUAL STATEMENT: Plaintiff has been to the Foxworthy Gas Station a

21   few times to buy tacos from the truck that serves from the parking lot. Each time he has been

22   there he has noticed that there are no designated accessible parking places in the gas station

23   parking lot. However, he generally did not always need to use the services of the gas station, so

24   although he was bothered by the lack of accessible parking he was able to access to the taco truck.

25          14.     On February 5, 2022, Plaintiff went to the Foxworthy Gas Station to purchase

26   tacos, but before he went to the taco truck, Plaintiff decided to purchase a drink at the gas station

27   convenience store. Plaintiff looked for an accessible parking space near the convenience store,

28   but immediately noticed that despite the large parking area available to customers, there were no
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 1   accessible parking spaces in the parking lot nor was there any signage indicating where disabled

 2   patrons could find accessible parking. He parked his vehicle in a parking space as close as

 3   possible to the convenience store, but he was still a good distance from the store. There were

 4   many cars that were parked closer to the shop than he was. It is important for Plaintiff to have

 5   parking that is close by to the entrance of any public accommodation because it is difficult and

 6   tiring for him to ambulate with his prosthetic leg.

 7           15.     Plaintiff exited his vehicle and walked towards the convenience store. The only

 8   way for Plaintiff to access the store was by stepping up onto a curb. Due to his amputated leg and

 9   use of a prosthetic, it is very important for Plaintiff to have a level surface and curb ramps when

10   walking, otherwise he is at risk of tripping or slipping and falling. Walking with a prosthetic limb

11   is already difficult. Walking with a prosthetic limb and climbing steps or navigating changes in

12   vertical clearance even more so. Even after years of using a prosthetic leg Plaintiff still has to

13   think carefully about every step he takes. He has to monitor every potential hazard in his path of

14   travel, and actively think about the height of his next step to avoid tripping. Walking on a

15   smooth, flat or ramped, slip resistant surface greatly reduces Plaintiff’s risk of falling. Plaintiff

16   was able to navigate the curb, enter the store and make his purchase, but it caused him difficulty

17   and discomfort to do so, including a fear of falling.

18           16.     On February 10, 2022, Plaintiff again went to the Foxworthy Gas Station area to

19   buy tacos, and this time he also needed to purchase gas. He decided to purchase his gas at

20   Foxworthy Gas Station since it was convenient while getting something to eat. However, he was

21   deterred from entering the convenience store to purchase any food and drink items because he

22   knew that the lack of close accessible parking and the lack of accessible path of travel to the

23   store’s entrance would cause him difficulty and stress.

24           17.     Plaintiff and other disable patrons at Foxworthy Gas Station need a designated

25   accessible parking which is close to the business. The designated accessible parking space should

26   have an accessible path of travel connecting it to the entrance to the business and the restroom.

27   Additionally, investigation of this property revealed that the restroom is also inaccessible in many

28   respects including that there are no grab bars near the toilet.
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 1          18.     The above referenced barriers to access are listed without prejudice to Plaintiff

 2   citing additional barriers to access by an amended complaint after inspection by Plaintiff’s access

 3   consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc.

 4   524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir.

 5   2011). All of these barriers to access render the premises inaccessible to physically disabled

 6   persons who are mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter

 7   when he returns to the premises. All facilities must be brought into compliance with all

 8   applicable federal and state code requirements, according to proof.

 9          19.     Further, each and every violation of the Americans with Disabilities Act of 1990

10   also constitutes a separate and distinct violation of California Civil Code section 54(c) and

11   54.1(d), thus independently justifying an award of damages and injunctive relief pursuant to

12   California law, including but not limited to Civil Code sections 54.3 and 55.

13          20.     INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit the acts and

14   omissions of Defendants as complained of herein which are continuing on a day-to-day basis and

15   which have the effect of wrongfully excluding Plaintiff and other members of the public who are

16   physically disabled from full and equal access to these public facilities. Such acts and omissions

17   are the cause of humiliation and mental and emotional suffering of Plaintiff in that these actions

18   continue to treat Plaintiff as an inferior and second-class citizen and serve to discriminate against

19   him on the sole basis that he is a person with disabilities who requires the use of designated

20   accessible parking spaces at places of public accommodation.

21          21.     Plaintiff is deterred from returning to use these facilities, because the lack of

22   access will foreseeably cause him further difficulty, discomfort and embarrassment, and Plaintiff

23   is unable, so long as such acts and omissions of Defendants continue, to achieve equal access to

24   and use of these public facilities. Therefore, Plaintiff cannot return to patronize Foxworthy Gas

25   Station and its facilities and is deterred from further patronage until these facilities are made

26   properly accessible for disabled persons, including Plaintiff and other mobility disabled persons.

27   Foxworthy Gas Station is conveniently located to Plaintiff’s home and it is convenient for him to

28   purchase gas there when he eats at the nearby taco truck. He intends to return and patronize
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 1   Foxworthy Gas Station once it is made accessible.

 2           22.     The acts of Defendants have proximately caused and will continue to cause

 3   irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks injunctive relief as to

 4   all inaccessible areas of the premises that he has personally encountered, and, as to all areas

 5   identified during this litigation by Plaintiff’s access consultant, that he or other physically

 6   disabled persons may encounter in the future. Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.

 7   2008); Chapman v. Pier One Imports (USA), Inc., 631 F. 3d 939 (9th Cir. 2011); Oliver v. Ralphs

 8   Grocery Co., 654 F.3d 903 (9th Cir. 2011). As to the Defendants that currently own, operate,

 9   and/or lease (from or to) the subject premises, Plaintiff seeks preliminary and permanent

10   injunctive relief to enjoin and eliminate the discriminatory practices and barriers that deny full

11   and equal access for disabled persons, and for reasonable statutory attorney fees, litigation

12   expenses and costs.

13           23.     Wherefore Plaintiff asks this Court to preliminarily and permanently enjoin any

14   continuing refusal by Defendants to grant full and equal access to Plaintiff in the ways

15   complained of and to require Defendants to comply forthwith with the applicable statutory

16   requirements relating to access for disabled persons. Such injunctive relief is provided by

17   California Health & Safety Code section 19953 and California Civil Code section 55, and other

18   law. Plaintiff further requests that the Court award damages pursuant to Civil Code section 54.3

19   and other law and attorney fees, litigation expenses, and costs pursuant to Health & Safety Code

20   section 19953, Civil Code sections 54.3 and 55, Code of Civil Procedure section 1021.5 and other

21   law, all as hereinafter prayed for.

22           24.     DAMAGES: As a result of the denial of full and equal access to the described

23   facilities and due to the acts and omissions of Defendants in owning, operating, leasing,

24   constructing, altering, and maintaining the subject facilities, Plaintiff has suffered a violation of

25   his civil rights, including but not limited to rights under Civil Code sections 54 and 54.1, and has

26   suffered difficulty, discomfort and embarrassment, and physical, mental and emotional personal

27   injuries, all to his damages per Civil Code section 54.3, including general and statutory damages,

28   and treble damages, as hereinafter stated. Defendants’ actions and omissions to act constitute
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 1   discrimination against Plaintiff on the basis that he was and is physically disabled and unable,

 2   because of the architectural and other barriers created and/or maintained by the Defendants in

 3   violation of the subject laws, to use the public facilities on a full and equal basis as other persons.

 4   These violations have deterred Plaintiff from returning to patronize Foxworthy Gas Station and

 5   will continue to cause him damages each day these barriers to access continue to be present.

 6          25.     FEES AND COSTS: As a result of Defendants’ acts, omissions, and conduct,

 7   Plaintiff has been required to incur attorney fees, litigation expenses, and costs as provided by

 8   statute, in order to enforce Plaintiff’s rights and to enforce provisions of the law protecting access

 9   for disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

10   seeks recovery of all reasonable attorney fees, litigation expenses, and costs, pursuant to the

11   provisions of Civil Code sections 54.3 and 55, and California Health & Safety Code section

12   19953. Additionally, Plaintiff’s lawsuit is intended to require that Defendants make its facilities

13   accessible to all disabled members of the public, justifying “public interest” attorney fees,

14   litigation expenses and costs pursuant to the provisions of California Code of Civil Procedure

15   section 1021.5 and other applicable law.

16          WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter stated.

17                          SECOND CAUSE OF ACTION:
      VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH ACT, CIVIL CODE
18      SECTIONS 51 AND 52, AND THE AMERICANS WITH DISABILITIES ACT AS
                                  INCORPORATED
19                          BY CIVIL CODE SECTION 51(f)
20          26.     Plaintiff re-pleads and incorporates by reference, as if fully set forth hereafter, the

21   factual allegations contained in Paragraphs 1 through 25 of this Complaint and incorporates them

22   herein as if separately re-pleaded.

23          27.     At all times relevant to this complaint, California Civil Code section 51 has

24   provided that physically disabled persons are free and equal citizens of the state, regardless of

25   medical condition or disability:

26          All persons within the jurisdiction of this state are free and equal, and no matter
            what their sex, race, color, religion, ancestry, national origin, disability, or medical
27          condition are entitled to the full and equal accommodations, advantages, facilities,
            privileges, or services in all business establishments of every kind whatsoever.
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 1   Civil Code § 51(b). [Emphasis added.]

 2           28.     California Civil Code section 52 provides that the discrimination by Defendants

 3   against Plaintiff on the basis of his disability constitutes a violation of the general anti-

 4   discrimination provisions of sections 51 and 52.

 5           29.     Each of Defendants’ discriminatory acts or omissions constitutes a separate and

 6   distinct violation of California Civil Code section 52, which provides that:

 7           Whoever denies, aids or incites a denial, or makes any discrimination or distinction
             contrary to section 51, 51.5, or 51.6 is liable for each and every offense for the
 8           actual damages, and any amount that may be determined by a jury, or a court sitting
             without a jury, up to a maximum of three times the amount of actual damage but in
 9           no case less than four thousand dollars ($4,000), and any attorney’s fees that may
             be determined by the court in addition thereto, suffered by any person denied the
10           rights provided in Section 51, 51.5, or 51.6.

11           30.     Any violation of the Americans with Disabilities Act of 1990 also constitutes a

12   violation of California Civil Code section 51(f), thus independently justifying an award of

13   damages and injunctive relief pursuant to California law, including Civil Code section 52. Per

14   Civil Code section 51(f), “A violation of the right of any individual under the Americans with

15   Disabilities Act of 1990 (Public Law 101-336) shall also constitute a violation of this section.”

16           31.     The actions and omissions of Defendants as herein alleged constitute a denial of

17   access to and use of the described public facilities by physically disabled persons within the

18   meaning of California Civil Code sections 51 and 52. As a proximate result of Defendants’

19   action and omissions, Defendants have discriminated against Plaintiff in violation of Civil Code

20   sections 51 and 52, and is responsible for statutory, compensatory and treble damages to Plaintiff,

21   according to proof.

22           32.     FEES AND COSTS: As a result of Defendants’ acts, omissions and conduct,

23   Plaintiff has been required to incur attorney fees, litigation expenses and costs as provided by

24   statute in order to enforce Plaintiff’s rights and to enforce provisions of law protecting access for

25   disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

26   seeks recovery of all reasonable attorney fees, litigation expenses and costs pursuant to the

27   provisions of California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is

28   intended to require that Defendants make its facilities and policies accessible to all disabled
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 1   members of the public, justifying “public interest” attorney fees, litigation expenses and costs

 2   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and other

 3   applicable law.

 4                     WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter

 5   stated.

 6                               THIRD CAUSE OF ACTION:
               VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 7                                  42 USC §§ 12101 et seq
 8             33.     Plaintiff re-pleads and incorporates by reference, as if fully set forth again herein,

 9   the allegations contained in Paragraphs 1 through 32 of this Complaint and incorporates them

10   herein as if separately re-pleaded.

11             34.     In 1990 the United States Congress made findings that laws were needed to more

12   fully protect “some 43,000,000 Americans [with] one or more physical or mental disabilities;”

13   that “historically, society has tended to isolate and segregate individuals with disabilities;” that

14   “such forms of discrimination against individuals with disabilities continue to be a serious and

15   pervasive social problem;” that “the Nation’s proper goals regarding individuals with disabilities

16   are to assure equality of opportunity, full participation, independent living, and economic self-

17   sufficiency for such individuals;” and that “the continuing existence of unfair and unnecessary

18   discrimination and prejudice denies people with disabilities the opportunity to compete on an

19   equal basis and to pursue those opportunities for which our free society is justifiably famous...”

20   42 U.S.C. §12101.

21             35.     Plaintiff is a qualified individual with a disability as defined in the Rehabilitation

22   Act and in the Americans with Disabilities Act of 1990.

23             36.     In passing the Americans with Disabilities Act of 1990 (hereinafter “ADA”),

24   Congress stated as its purpose:

25             It is the purpose of this Act
26             (1) to provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;
27
               (2) to provide clear, strong, consistent, enforceable standards addressing discrimination
28             against individuals with disabilities;
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 1
             (3) to ensure that the Federal Government plays a central role in enforcing the standards
 2           established in this Act on behalf of individuals with disabilities; and

 3           (4) to invoke the sweep of congressional authority, including the power to enforce the
             fourteenth amendment and to regulate commerce, in order to address the major areas of
 4           discrimination faced day-to-day by people with disabilities.

 5   42 USC § 12101(b).

 6           37.     As part of the ADA, Congress passed “Title III - Public Accommodations and

 7   Services Operated by Private Entities” (42 USC § 12181 et seq.). The subject property and

 8   facility is one of the “private entities” which are considered “public accommodations” for

 9   purposes of this title, which includes but is not limited to any “shopping center, or other sales or

10   rental establishment.” 42 USC § 12181(7)(E).

11           38.     The ADA states that “No individual shall be discriminated against on the basis of

12   disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

13   or accommodations of any place of public accommodation by any person who owns, leases, or

14   leases to, or operates a place of public accommodation.” 42 U.S.C. § 12182. The specific

15   prohibitions against discrimination include, but are not limited to the following:

16   § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory to afford an

17   individual or class of individuals, on the basis of a disability or disabilities of such individual or

18   class, directly, or through contractual, licensing, or other arrangements, with the opportunity to

19   participate in or benefit from a good, service, facility, privilege, advantage, or accommodation

20   that is not equal to that afforded to other individuals.”

21   § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies, practices, or

22   procedures when such modifications are necessary to afford such goods, services, facilities,

23   privileges, advantages, or accommodations to individuals with disabilities...;”

24   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure that no

25   individual with a disability is excluded, denied service, segregated, or otherwise treated

26   differently than other individuals because of the absence of auxiliary aids and services...;”

27   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and communication barriers that

28   are structural in nature, in existing facilities... where such removal is readily achievable;”
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 1   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier under clause

 2   (iv) is not readily achievable, a failure to make such goods, services, facilities, privileges,

 3   advantages, or accommodations available through alternative methods if such methods are readily

 4   achievable.”

 5   The acts and omissions of Defendants set forth herein were in violation of Plaintiff’s rights under

 6   the ADA and the regulations promulgated thereunder, 28 C.F.R. Part 36 et seq.

 7          39.     The removal of each of the physical barriers complained of by Plaintiff as

 8   hereinabove alleged, were at all times herein mentioned “readily achievable” under the standards

 9   of sections 12181 and 12182 of the ADA. As noted hereinabove, removal of each and every one

10   of the architectural and/or policy barriers complained of herein were already required under

11   California law. Further, on information and belief, alterations, structural repairs or additions

12   since January 26, 1993, have also independently triggered requirements for removal of barriers to

13   access for disabled persons per section 12183 of the ADA. In the event that removal of any

14   barrier is found to be “not readily achievable,” Defendants still violated the ADA, per

15   section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages and

16   accommodations through alternative methods that were “readily achievable.”

17          40.     The ability to safely use parking facilities and walkways is a fundamental

18   necessity of accessing and using Foxworthy Gas Station. Therefore, the benefits of creating

19   accessible parking and paths of travel does not exceed the costs of readily achievable barrier

20   removal. These costs are fundamental to doing business, like any other essential function of

21   operating a gas station and convenience store, such as the costs of as ensuring fire safety. It is

22   thus readily achievable to remove these barriers.

23          41.     On information and belief, as of the dates of Plaintiff’s encounters at the premises

24   and as of the filing of this Complaint, Defendants’ actions, policies, and physical premises have

25   denied and continue to deny full and equal access to Plaintiff and to other mobility disabled

26   persons in other respects, which violate Plaintiff’s right to full and equal access and which

27   discriminate against Plaintiff on the basis of his disabilities, thus wrongfully denying to Plaintiff

28   the full and equal enjoyment of the goods, services, facilities, privileges, advantages and
                                                         13
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 1   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.

 2          42.     Defendants’ actions continue to deny Plaintiff’s rights to full and equal access by

 3   deterring Plaintiff from patronizing Foxworthy Gas Station and discriminated and continues to

 4   discriminate against him on the basis of his disabilities, thus wrongfully denying to Plaintiff the

 5   full and equal enjoyment of Defendants’ goods, services, facilities, privileges, advantages and

 6   accommodations, in violation of section 12182 of the ADA. 42 U.S.C. § 12182.

 7          43.     Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections 12188 et seq.,

 8   Plaintiff DOUGLAS POWERS is entitled to the remedies and procedures set forth in

 9   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is being

10   subjected to discrimination on the basis of his disabilities in violation of sections 12182 and

11   12183 of this title. On information and belief, Defendants have continued to violate the law and

12   deny the rights of Plaintiff and other disabled persons to “full and equal” access to this public

13   accommodation since on or before Plaintiff’s encounters. Pursuant to section 12188(a)(2)

14          [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)... injunctive relief
            shall include an order to alter facilities to make such facilities readily accessible to
15          and usable by individuals with disabilities to the extent required by this title. Where
            appropriate, injunctive relief shall also include requiring the provision of an
16          auxiliary aid or service, modification of a policy, or provision of alternative
            methods, to the extent required by this title.
17

18          44.     Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of the Civil

19   Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal Regulations adopted to

20   implement the Americans with Disabilities Act of 1990. Plaintiff DOUGLAS POWERS is a

21   qualified disabled person for purposes of section 12188(a) of the ADA who is being subjected to

22   discrimination on the basis of disability in violation of Title III and who has reasonable grounds

23   for believing he will be subjected to such discrimination each time that he may use the property

24   and premises, or attempt to patronize Foxworthy Gas Station, in light of Defendants’ policies and

25   physical premises barriers.

26          WHEREFORE, Plaintiff requests relief as outlined below.

27                                                PRAYER

28          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set forth in this
                                                       14
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 1   Complaint. Plaintiff has suffered and will continue to suffer irreparable injury as a result of the

 2   unlawful acts, omissions, policies, and practices of the Defendants as alleged herein, unless

 3   Plaintiff is granted the relief he requests. Plaintiff and Defendants have an actual controversy and

 4   opposing legal positions as to Defendants’ violations of the laws of the United States and the

 5   State of California. The need for relief is critical because the rights at issue are paramount under

 6   the laws of the United States and the State of California.

 7            WHEREFORE, Plaintiff DOUGLAS POWERS prays for judgment and the following

 8   specific relief against Defendants:

 9            1.    Issue a preliminary and permanent injunction directing Defendants as current

10   owners, operators, lessors, and/or lessees of the subject property and premises to modify the

11   above described property, premises, policies and related facilities to provide full and equal access

12   to all persons, including persons with physical disabilities; and issue a preliminary and permanent

13   injunction pursuant to ADA section 12188(a) and state law directing Defendants to provide

14   facilities usable by Plaintiff and similarly situated persons with disabilities, and which provide

15   full and equal access, as required by law, and to maintain such accessible facilities once they are

16   provided; to cease any discriminatory policies, and to train Defendants’ employees and agents in

17   how to recognize disabled persons and accommodate their rights and needs;

18            2.    Retain jurisdiction over the Defendants until such time as the Court is satisfied that

19   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of physically

20   inaccessible public facilities and policies as complained of herein no longer occur, and cannot

21   recur;

22            3.    Award to Plaintiff all appropriate damages, including but not limited to statutory

23   damages, general damages, and treble damages in amounts within the jurisdiction of the Court, all

24   according to proof;

25            4.    Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and

26   costs of this proceeding as provided by law;

27            5.    Award prejudgment interest pursuant to Civil Code section 3291; and

28            6.    Grant such other and further relief as this Court may deem just and proper.
                                                       15
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 1   Date: March 28, 2022                                 REIN & CLEFTON

 2

 3                                                           /s/ Aaron Clefton
                                                          By AARON CLEFTON, Esq.
 4                                                        Attorney for Plaintiff
                                                          DOUGLAS POWERS
 5

 6                                          JURY DEMAND
 7         Plaintiff hereby demands a trial by jury for all claims for which a jury is permitted.
 8

 9   Date: March 28, 2022                                 REIN & CLEFTON
10

11                                                           /s/ Aaron Clefton
                                                          By AARON CLEFTON, Esq.
12                                                        Attorney for Plaintiff
                                                          DOUGLAS POWERS
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